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                  IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAII

                              )
CHAD BARRY BARNES,            )
                              )
          Plaintiff,          )
                              )
     vs.                      )
                              )
SEA HAWAII RAFTING, LLC;      )
KRIS HENRY; ALOHA OCEAN       )            Civ. No. 13-00002 ACK-RLP
EXCURSIONS, LLC; JOHN         )
DOES 1-20; MARY DOES          )
1-20; DOE CORPOPRATIONS       )
1-20; DOE PARTNERSHIPS        )
1-20; DOE ASSOCIATES          )
1-20; DOE GOVERNMENTAL        )
AGENCIES 1-20; AND OTHER      )
ENTITES 1-20, in personam;    )
AND M/V TEHANI, HA 1629-CP,   )            AMENDED FINDINGS OF FACT AND
AND HER ENGINES, EQUIPMENT,   )            CONCLUSIONS OF LAW
TACKLE, FARES, STORES,        )
PERMITS, FURNISHINGS, CARGO   )
AND FREIGHT; DOE VESSELS 1-20,)
in rem.                       )
                              )
          Defendants.         )
                              )

           AMENDED FINDINGS OF FACT AND CONCLUSIONS OF LAW 1

            This matter arises under admiralty law.           Plaintiff Chad

Barry Barnes was injured on July 3, 2012, by an explosion while

working as a seaman aboard in rem defendant M/V Tehani.

Exhibits (“Ex.”) 2 1, 27.        The Tehani is a 25-foot rigid-hull


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  See Order dated October 5, 2018, ECF No. 445.
2
  Because Defendants failed to submit any exhibits at the non-
jury trial, all citations to exhibits herein are to Plaintiff
Barnes’s exhibits admitted into evidence.


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inflatable boat powered by twin outboard engines, Ex. 23, which

in personam defendant Sea Hawaii Rafting, LLC (“SHR”) owned at

the time of the accident, 3 Henry Tsti. Tr. 27:5‒9.

            In Barnes v. Sea Hawaii Rafting, LLC, the Ninth

Circuit issued a writ of mandamus directing this Court to award

Barnes maintenance at the rate of $34 per day, subject to a

potential upward increase after trial.           889 F.3d 517, 543 (9th

Cir. 2018).     Further, the Ninth Circuit encouraged this Court to

sever the issue of maintenance and cure and expeditiously set it

for trial.     Id. at n.21.      On May 2, 2018, the Court entered a

minute order setting an expedited trial on Plaintiff Barnes’s

claims for maintenance and cure to commence on June 12, 2018.

ECF No. 314.     However, the parties requested a continuance of

that date, ECF Nos. 317, 319, so the Court entered a minute

order rescheduling the non-jury trial to commence on Tuesday,

July 31, 2018.     ECF No. 322.

            On July 31, 2018, Barnes’s claim for maintenance and

cure came on for a three-day trial without a jury.                The issues

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  Kris K. Henry was the sole owner and manager of SHR. Henry is
not a defendant for purposes of this trial because he filed for
Chapter 13 bankruptcy protection in 2014, see In re Kristin Kimo
Henry, Case No. 14-01475, and the bankruptcy court recently
declined Barnes’s request for leave to assert in personam,
unsecured claims against Henry or his bankruptcy estate, see In
re Sea Hawaii Rafting, LLC, Case No. 14-01520, Dkt. 300 at pp.
13-14. That matter is currently on appeal before another
district judge in this district. See id. at Dkts. 301, 302.



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for determination were: (1) the daily rate of maintenance—at

least $34 per day—to which Barnes is entitled; (2) the amount of

cure, if any, to which Barnes is entitled; (3) whether Barnes

has reached maximum medical cure; (4) whether SHR’s denial of

maintenance and cure was willful and wanton, justifying an award

of attorneys’ fees and punitive damages to Barnes; and (5) the

appropriate rate of pre-judgment interest, if any, applicable to

any judgment in favor of Barnes.

             The Court, having carefully considered the testimony

of the witnesses, the exhibits in the record, and pursuant to

Rule 52(a) of the Federal Rules of Civil Procedure, makes the

following Findings of Fact and Conclusions of Law.                To the

extent that a Finding of Fact constitutes a Conclusion of Law,

the Court adopts it as such.        And to the extent that a

conclusion of Law constitutes a Finding of Fact, the Court also

adopts that assumption.

I.      FINDINGS OF FACT

        A.   The Parties

        1.   At all times material, plaintiff Chad Barry Barnes was

a resident of the District of Hawaii. Barnes was a seaman

serving on the M/V Tehani on July, 3, 2012.           Barnes Tsti. Tr.

24:4‒11; Order Granting in Part and Denying in Part Plaintiff’s

Motion for Summary Judgment as to Unseaworthiness, Negligence

Per Se, and Jones Act Negligence, and Dismissing Defendant M/V

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Tehani for Lack of Jurisdiction at p. 19, ECF No. 197.

       2.   At all times material, in personam defendant Sea

Hawaii Rafting, LLC (“SHR”) was a Hawaii limited liability

corporation with its principle place of business in Hawaii. 4              SHR

was Barnes’s employer at the time of the July 3, 2012 accident,

and Kris Henry was the owner and sole member of SHR.             Henry

Tsti. Tr. 17:20‒21, 27:5‒9.       On May 21, 2018, the bankruptcy

court in In re Sea Hawaii Rafting, LLC, Case No. 14-01520,

granted Barnes relief from the automatic bankruptcy stay to

proceed on his in personam claims against SHR.           Id. Dkt. 300 at

pp. 12-13.

       3.   At all times material, in rem defendant the M/V Tehani


4
  The Court allowed Henry to represent SHR in this case because
of the following unique circumstances: (1) Henry is the sole
member of SHR; (2) SHR has filed for bankruptcy; (3) SHR’s
attorneys in this case were allowed to withdraw because SHR was
no longer able to pay for their services; (4) while the Court
urged SHR to find another attorney, SHR was unable to do so even
after being given extensions for that purpose; (5) this case has
a long life of six years, and contrary to established law,
Barnes has not received required payments for maintenance and
cure, even though as an injured seaman, he was entitled to
prompt payment for maintenance and cure; and (6) the Ninth
Circuit has urged this Court to proceed expeditiously in
determining the amount of maintenance and cure to which Barnes
is entitled. “The general rule, widely recognized in federal
and state courts, is that a corporation can appear only through
an attorney.” Taylor v. Knapp, 871 F.2d 803, 806 (9th Cir.
1989) (citations omitted). However, as a Ninth Circuit court
has reasoned: “Allowing a sole shareholder to represent the
interests of a close corporation amounts to no more than
allowing the real beneficial owner of the corporation to
represent his own interests.” Id.


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and her appurtenances (together with SHR, “Defendants”), was

located in the District of Hawaii.      The M/V Tehani was and is a

commercial vessel duly registered and/or documented by and with

the State of Hawaii, Division of Boating and Ocean Recreation.

E.g., Ex. 4 at pp. 3.

     B.   The July 3, 2012 Accident

     4.   On July 3, 2012, Henry called Barnes into work for SHR

because another deck hand was unable to work as scheduled.

Barnes Tsti. Tr. 24:4‒11.

     5.   The two men arrived at the Honokohau Small Boat Harbor

in Kailua-Kona, Hawaii, and began to prepare the M/V Tehani for

SHR’s evening snorkeling trip.     Ex. 29; Henry Tsti. Tr. 30:20‒

25, 31:1‒13.

     6.   After the initial preparations were complete, Henry

started to trailer the Tehani into the water.         Ex. 27 at p. 3;

Ex. 29 at p. 1.

     7.   As the vessel was being lowered into the water, Barnes

began to start its engines.     Ex. 27 at p. 3; Ex. 29 at p. 1.

When Barnes started the second engine, there was an explosion

from under the floorboards which caused parts of the vessel to

be thrown into the air, striking Barnes on the back of the head

and injuring him.     Ex. 27 at p. 3; Ex. 29 at p. 1.

     8.   The explosion and fire appear to have been caused by

fuel that had leaked out of the fuel tank through a missing bolt

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in the fuel tank sender gauge; the fuel leaked into the Tehani’s

bilge and ignited when Barnes started the engine.           Ex. 27 at p.

18.   A United States Coast Guard investigation concluded that

the accident may have been avoided if Henry had installed a

required flammable vapor detector and mechanical exhaust system.

Id.

      9.    Following the explosion, Barnes was transferred by

ambulance to Kona Community Hospital.         Id. at pp. 3, 13; Ex. 29

at p. 1; Henry Tsti. Tr. 42:9‒12.

      10.   At Kona Community Hospital, Barnes received numerous

staples to reattach parts of his scalp.        Ex. 49 at p. 2; Henry

Tsti. Tr. 24:6‒8; Reumann Trial Tr: 35:9-37‒1.          Barnes was

released from the hospital later that day.         Ex. 27 at pp. 3, 13.

      C.    Barnes’s Post-Accident Medical Treatment

      11.   Following the July 3, 2012 accident, Barnes began to

receive treatment for his physical and psychological injuries at

the West Hawaii Community Health Center (“WHCHC”).              E.g., Ex. 50

at pp. 1, 98

      12.   From August 2012 through the time of trial, WHCHC

psychiatrist Dr. Victoria Hanes, M.D. treated Barnes for various

psychological disorders, including: (1) Major Depressive

Disorder, Severe; (2) Cognitive Disorder Not Otherwise

Specified; and (3) Psychological Factors Affecting

Hypothyroidism, Diabetes Mellitus Type II, High Cholesterol, and

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Tinnitus.     Ex. 50 at p. 1, 98; see generally Hanes Tsti. Tr. 47-

77.

       13.   Dr. Hanes reported that Barnes’s primary symptoms are

chronic depressed mood, thoughts of self harm, and cognitive

disorganization.     Ex. 50 at pp. 1, 98; see generally Hanes Tsti.

Tr. 47-77.

       14.   Barnes continues to schedule appointments with Dr.

Hanes to receive treatment for his various psychological

disorders and symptoms resulting from the July 3, 2012 accident.

Id. at 76:21-77:3.

       15.   In addition, after seeing various primary care

providers since the July 3, 2012 accident, Ex. 50 at pp. 1, 98,

Barnes has received treatment from Dr. Heather Miner, M.D. since

September 4, 2013, Ex. 50 at p. 71; Miner Tsti. Tr. 49:6‒18.

       16.   Dr. Miner observed that Barnes has several chronic

issues that are difficult to manage, including diabetes,

hypothyroidism, headaches, memory and cognition issues,

difficulty sleeping, Tinnitus. 5      Miner Tsti. Tr. 51:23‒25, 52:2‒


5
  The Court notes that there is conflicting evidence regarding
whether Barnes was diagnosed with diabetes and hypothyroidism
before or after the June 3, 2012 accident. Dr. Marko Reumann’s
notes from Barnes’s first visit on August 17, 2012, list under
“Past medical history”: “Depression, hypothyroid, DM II [Type II
Diabetes], HTN [hypertension], Hyperlipidemia.” Ex. 50 at p.
39. When questioned whether the listing of diabetes and
hypothyroidism under “Past medical history” means that Barnes
had these conditions before the July 3, 2012 accident, Dr.
(Continued . . . .)
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5, 55:10‒12, 57:5‒19, 59:1‒3.

     17.   Dr. Miner most recently treated Barnes on July 12,

2018, and felt that he was making progress.         Id. at 69:7‒16.

Overall, Dr. Miner has observed that Barnes’ condition

fluctuates, but that he is in the most stable condition he has

been in since she began treating him.         Id. at 70:22‒25.

     18.   Barnes has another appointment scheduled with Dr.

Miner on October 17, 2018.     Miner Tsti. Tr. 70:15‒17.

     19.   From August 2012 through around February 2016,

Barnes’s also received treatment from Dr. Marko Reumann, M.D.

E.g., Ex. 49 at p. 39; Reumann Tsti. Tr. 30:16‒20, 71:13‒16.

Dr. Reumann testified as an expert in the field of general

neurology at trial, and stated that during the course of his

treatment of Barnes, Barnes suffered from severe headaches, neck

pain, and Tinnitus.    Reumann Tsti. Tr. 31:18-32:7.

     20.   Dr. Reumann originally believed that Barnes’s symptoms



(Continued . . . .)
Reumann explained that he likely incorrectly listed those
diagnoses under that heading because WHCHC had earlier diagnosed
them during Barnes’s first post-accident visit. Reumann Tsti.
Tr. 44:23-45:23. Dr. Reumann admitted, however, that if he was
simply referring to WHCHC’s post-accident diagnoses, he “should
not have listed th[ose conditions] in th[at] way . . . .” Id.
at 45:18‒23. Additionally, Dr. Hanes testified that WHCHC’s
records from April 1, 2011 mention that Barnes was diagnosed
with diabetes by that date at the latest. Hanes Tsti. Tr. 52:7‒
21. However, Dr. Hanes testified that there is no indication
that Barnes was being treated for diabetes prior to July 17,
2012. E.g., Hanes Tsti. Tr. 84:5‒7.


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were due to a post-concussive syndrome.        Id. at 33:8‒25; Ex. 49

at p. 2.    When Barnes’s symptoms persisted, however, it became

clear to Dr. Reumann that Barnes was experiencing chronic post-

traumatic headache disorder, sensorineural hearing loss with

Tinnitus, and chronic insomnia and mood disorder with mild

cognitive impairment.    Ex. 49 at p. 2.

     21.    Barnes’s post-traumatic headaches were found to be

medically intractable, and Dr. Reumann performed ten occipital

nerve blocks to provide Barnes with temporary pain relief.

Reumann Tsti. Tr. 53:2‒14; Ex 49 at p. 2.         Accordingly, Dr.

Reumann now believes it likely that Barnes sustained a

microscopic microstructural lesion to several parts of his brain

in the July 3, 2012 accident.       Reumann Tsti. Tr. 39:9‒18; Ex. 49

at p. 2.

     22.    Dr. Reumann further opined that Barnes would benefit

from future treatment and would regress if unable to continue

his course of treatment.       Reumann Tsti. Tr. 74:5‒18; Ex. 49 at

p.p. 3-4.    When asked whether Barnes had reached maximum medical

cure, Dr. Reumann stated that Barnes had not.          Reumann Tsti. Tr.

75:18‒25.    Dr. Reumann also stated that Barnes needs continued

treatment and could continue to improve.        Id.

     23.    Beyond the testimony of Henry and Barnes, SHR did not

submit any evidence or call any other witnesses at trial,

including with regard to Barnes’s past or current medical

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conditions.

     D.      Barnes’s Post-Accident Living Arrangements

     24.     At the time of the July 3, 2012 accident, Barnes was

living in a two-bedroom, two-bathroom condominium, which cost

him $1,200.00 per month for rent and approximately $200.00 per

month for utilities.     Barnes Tsti. Tr. 19:25-21:22.         Barnes

later lost that condominium unit.       Id. at 21:7‒16.

     25.     Within days of Barnes’s discharge from the hospital

following the July 3, 2012 accident, he began to stay with a man

named David Pane.     Barnes Tsti. Tr. 30: 3‒12; Henry Tsti. Tr.

20:21-22:5.     Henry or SHR provided Pane with one $600.00 check

on Barnes’s behalf to cover rent.       Barnes Tsti. Tr. 30: 3‒12;

Henry Tsti. Tr. 20:21-22:5.

     26.     After leaving Mr. Pane’s residence, Barnes relocated

between many different rooms, apartments, and other living

arrangements.     Barnes Tsti. Tr. 35:19-36:10.      Barnes’s average

rent at these various locations was around $500.00-$700.00 per

month.     Barnes Tsti. Tr. 36:1‒10.

     27.     Among these various places that Barnes stayed for a

period of time was the “ohana” house that Mr. William T.

Hughes’s daughter owned.      Hughes Tsti. Tr. 73:10‒14.        Mr. Hughes

and his family also began to transport Barnes to and from his

medical appointments, for meals and groceries, and for

prescriptions.     E.g., id. at 73:19-76:19, 80:8-82:10.

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     28.    During this time, Barnes could not pay or reimburse

Mr. Hughes or his family, but Barnes promised Hughes that he

would do so in the event he ever prevailed in this action or

found himself in a better financial situation.            E.g., id. at

85:23-86:15; Barnes Tsti. Tr. 29:6‒19.

     29.    Barnes also spent short periods of time with his

mother on the United States mainland. E.g., Barnes Tsti. Tr.

36:14-37:1.    Further, Barnes’s mother helped to support him

while he was financially struggling.          Id. at 14:20-15:5.

     30.    Barnes currently rents at a location that costs him

approximately $700.00 per month—$500.00 per month for rent and

around $200.00 per month for utilities.          Barnes Tsti. Tr. 17:7-

18:7.

     E.     Barnes’s Post-Accident Food Costs

     31.    Barnes submitted evidence that his food costs average

up to $45.00 per day.    Ex 16 at p. 1.        Because the places that

he lived post-July 3, 2012 accident often lacked kitchens, he

was forced to have most of his meals at restaurants.              Id.

     32.    Barnes also submitted evidence that, if he were able

to buy groceries to prepare every meal in his own kitchen, he

would require at least $25.00 per day comprising $5.00 per day

for breakfast, $8.00 per day for lunch, and $12.00 per day for

dinner.    Id. at pp. 12-13.

     33.    Mr. Hughes estimated that an average breakfast and

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lunch in Kailua-Kona, Hawaii would cost between approximately

$10.00 and $12.00, while lunch would cost around $12.00.            Hughes

Tsti. Tr. 82:3‒10.

     34.   For his part, Henry testified that he believes three

meals per day would cost up to $37.00 per day. Henry Tsti. Tr.

28:23-30:1.

     F.    Legal Proceedings and Defendants’ Post-Accident
           Conduct

     35.   As stated above, Henry or SHR provided David Pane with

one $600.00 check on Barnes’s behalf to cover rent following the

July 3, 2012 accident.    Barnes Tsti. Tr. 30: 3‒12; Henry Tsti.

Tr. 20:21-22:5.

     36.   On January 1, 2013, Barnes filed a Verified Complaint

against SHR, Henry, and a number of Doe defendants, in personam,

and M/V TEHANI, HA-1629 CP, and her engines, equipment, tackle,

stores, furnishings, cargo and freight, in rem.         ECF No. 1.     The

Complaint alleged the following counts: (1) negligence under the

Jones Act, 46 U.S.C. § 688 (Count I); (2) unseaworthiness (Count

II); (3) maintenance, cure, and wages under general maritime law

(Count III); (4) compensation and recovery for negligence

pursuant to the Longshore and Harbor Workers’ Compensation Act,

33 U.S.C. § 901 et seq. (Count IV); (5) negligence under 28

U.S.C. § 905(a) (Count V); (6) negligence under 28 U.S.C. §

905(b) (Count VI); (7) individual liability of Henry and the Doe


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Defendants for the negligence of SHR, pursuant to a theory of

“piercing the veil of limited liability” (Count VII); (8)

intentional and/or negligent infliction of emotional distress

(Count VIII); (9) attorneys’ fees (Count IX); and (10) punitive

damages (Count X).     Id.

       37.   On August 20, 2013, Barnes filed a Motion for Summary

Judgment for Payment of Maintenance and Cure.          ECF No. 25; Ex.

7.    In opposition, Defendants stated that they attempted to

investigate Barnes’s maintenance and cure claims but were

thwarted by Barnes’s failure to cooperate fully with their

discovery requests.     ECF No. 34; Ex. 8.

       38.   On November 15, 2013, the Court issued its Order

Granting in Part and Denying in Part Plaintiff’s Motion for

Summary Judgment for Payment of Maintenance and Cure.            ECF No.

44.    The November 15, 2013 Order granted the motion as to

Barnes’s entitlement to maintenance and cure, but denied the

motion as to the amount of such claims.        Id.   The cure claim was

denied because the amount Plaintiff Barnes sought was not

clearly established.     Id.   The maintenance claim was denied

because of inadequate evidence as to the reasonable amount of

daily maintenance in the Kailua-Kona community, as required by

the Fifth Circuit in Hall v. Noble Drilling (U.S.) Inc., 242

F.3d 582 (5th Cir. 2001).      However, the Ninth Circuit

subsequently in Barnes adopted as a matter of first impression

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the burden-shifting framework for determining a community’s

reasonable rate of maintenance as set forth in Incandela v.

American Dredging Company, 659 F.2d 11, 14 (2d Cir. 1981).              See

889 F.3d at 541-42.

     39.   Also in November 2013, Defendants, pursuant to the

Court’s proposed stipulation, notified the Court that they were

willing to stipulate to and pay $30 per day in maintenance to

Barnes without prejudice to either side’s right to seek a

further higher or lower final determination as to a reasonable

daily rate of maintenance; however, Barnes declined this win-win

Court-proposed stipulation.     See Order Denying Plaintiff’s Third

Motion for Summary Judgment for Payment of Maintenance at p. 3

n.2, 12, ECF No. 120; Order Denying Plaintiff’s Motion for

Reconsideration at pp. 4-5, ECF No. 51.

     40.   On January 27, 2014, Barnes filed a second Motion for

Summary Judgment for Payment of Maintenance.        ECF No. 58.        The

Court denied the motion on April 15, 2014, concluding that

issues of fact precluded a determination as a matter of law on

the issue of the appropriate rate of maintenance.             ECF No. 77.

     41.   On March 7, 2014, and April 1, 2014, Barnes received

two payments of $962.83 each from SHR.       Ex. 32 at pp. 3-4; see

also Order Denying Plaintiff’s Third Motion for Summary Judgment

for Payment of Maintenance at p. 9 n.7, ECF No. 120.

     42.   On May 21, 2014, Barnes filed his First Amended

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Complaint.     ECF No. 91.    In the First Amended Complaint, Barnes

brought the following claims: (1) negligence under the Jones

Act, 46 U.S.C. § 688, against the in personam Defendants (Count

I); (2) unseaworthiness as against the M/V TEHANI, in rem, and

the in personam Defendants (Count II); (3) maintenance, cure,

and wages under general maritime law (Count III); (4)

compensation and recovery for negligence pursuant to the

Longshore and Harbor Workers’ Compensation Act, 33 U.S.C. § 905,

against the in personam and in rem Defendants (Counts IV-VI);

(5) individual liability of Henry and the Doe Defendants for the

negligence of SHR, pursuant to a theory of “piercing the veil of

limited liability” (Count VII); (6) intentional and/or negligent

infliction of emotional distress as against all Defendants

(Count VIII); and Jones Act negligence per se (Count XII).                Id.

       43.   On May 30, 2014, Barnes filed his Third Motion for

Summary Judgment for Payment of Maintenance.          ECF No. 94.        In

addition, on July 1, 2014, Barnes filed a Motion for Summary

Judgment for Payment of Cure.       ECF No. 103.     The Court issued

orders denying both motions on September 2, 2014.               ECF Nos. 120,

121.

       44.   Separately, on July 7, 2014, Barnes filed a Motion for

Summary Judgment as to Unseaworthiness, Negligence Per Se, and

Jones Act Negligence.     ECF No. 108.

       45.   On November 3, 2014, Henry filed for Chapter 13

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bankruptcy protection.     In re Kristin Kimo Henry, Case No. 14-

01475, Dkt. 1.     On November 12, 2014, SHR filed for Chapter 7

bankruptcy protection.     In re Sea Hawaii Rafting, LLC, Case No.

14-01520, Dkt. 1.

       46.   On December 22, 2015, following delays caused by the

above bankruptcy proceedings, the Court issued an Order Granting

in Part and Denying in Part Plaintiff’s Motion for Summary

Judgment as to Unseaworthiness, Negligence Per Se, and Jones Act

Negligence, and Dismissing Defendant M/V Tehani for Lack of

Jurisdiction.     ECF No. 197.

       47.   After entry of the December 22, 2015 Order, Barnes

filed a Motion for Leave to File Interlocutory Appeal.              ECF No.

199.    On December 30, 2015, the Court denied as moot Barnes’s

Motion for Leave to File Interlocutory Appeal, finding that

Barnes need not seek this Court’s permission prior to filing an

appeal under 28 U.S.C. 1292(a)(3).        ECF No. 203.

       48.   On March 28, 2018 the Ninth Circuit reversed in part

and remanded the December 22, 2015 Order.          Barnes, 889 F.3d at

543.    The Ninth Circuit also issued a writ of mandamus directing

the Court to award Barnes maintenance at the rate of $34 per

day, subject to a potential upward increase after trial.               Id. at

543.    Further, the Ninth Circuit encouraged the Court to sever

the issues of maintenance and cure and expeditiously set these

issues for trial.     Id. at n.21.

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       49.   The Ninth Circuit’s Mandate issued on April 27, 2018,

and the Court entered a minute order on May 2, 2018 scheduling a

non-jury trial on Barnes’s claims for maintenance and cure to

commence on June 12, 2018.        ECF No. 314.     After the parties

requested a continuance of the non-jury trial, the Court

rescheduled it to commence on July 31, 2018.            ECF No. 322.

       50.   On June 29, 2018, the Court issued a Directive to the

United States Bankruptcy Court for the District of Hawaii,

directing the bankruptcy court transfer to this Court the

$10,000.00 in rental income which the bankruptcy court received

for use of the M/V Tehani.        ECF No. 337.     The Court stated that

the $10,000.00 in rental income would be available to Plaintiff

Barnes, id., and Barnes has since received those funds, ECF No.

373 at p. 2.

       51.   On July 8, 2018, Barnes filed a Second Amended

Complaint, which he later verified, against SHR, Henry, Aloha

Ocean Excursions, LLC (“AOE”) 6 and a number of Doe defendants, in

personam, and the M/V TEHANI, HA-1629 CP, and her engines,

6
  AOE was joined as a party defendant since the M/V Tehani was
sold to AOE by the bankruptcy court. However, the Ninth Circuit
held in Barnes that the bankruptcy court did not have
jurisdiction over the vessel and that Barnes has a maritime lien
on the vessel. E.g., 889 F.3d at 533 (“The bankruptcy court
lacked jurisdiction to adjudicate Barnes’s maritime lien because
the admiralty court had already obtained jurisdiction over the
Tehani.”). The sale of the vessel by the bankruptcy court has
been appealed and is under pending litigation. See In re Sea
Hawaii Rafting, LLC, Case No. 14-01520, Dkts. 331, 343.


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equipment, tackle, fares, stores, permits, furnishings, cargo

and freight, and several “Doe Vessel” defendants, in rem.            ECF

Nos. 349, 355.

       52.   On July 10, 2018, Plaintiff Barnes filed an “Errata

Second Amended Complaint,” which mirrors the Second Amended

Complaint but remedies some of the Second Amended Complaint’s

spelling, grammatical, and typographical errors.          ECF No. 356.

On July 17, 2018, Plaintiff Barnes filed a Verification of

Errata Second Amended Complaint.       ECF No. 363.

       53.   In the Errata Second Amended Complaint, Barnes alleges

the following counts: (1) negligence under the Jones Act, 46

U.S.C. § 688, against the in personam Defendants (Count I); (2)

unseaworthiness as against the M/V TEHANI, in rem, and the in

personam Defendants (Count II); (3) maintenance and cure under

general maritime law (Count III); (4) individual liability of

Henry and the Doe Defendants for the negligence of SHR and AOE,

pursuant to a theory of “piercing the veil of limited liability”

(Count IV); (5) intentional infliction of emotional distress as

against all Defendants (Count V); (6) an accounting of Henry,

SHR, AOE, and the M/V Tehani (Count VI); (7) attorneys’ fees

against all defendants (Count VII); (8) punitive damages against

the in personam defendants (Count VIII); and (9)          Jones Act

negligence per se against SHR and Henry (Count IX).           ECF No.

356.

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      54.   At the time of trial, Barnes has never received

maintenance or cure payments from Defendants beyond the: (a)

$600.00 check SHR or Henry paid to David Pane to cover Barnes’s

rent, Barnes Tsti. Tr. 30: 3‒12; Henry Tsti. Tr. 20:21-22:5; (b)

two payments of $962.83 each from SHR or Henry, Ex. 32 at pp. 3-

4; see also Order Denying Plaintiff’s Third Motion for Summary

Judgment for Payment of Maintenance at p. 9 n.7, ECF No. 120;

and (c) $10,000.00 rental proceeds from use of the M/V Tehani,

which this Court obtained from the bankruptcy court and sent to

Plaintiff Barnes, and which was available to prepay for the

arrest of the vessel, ECF No. 373.

II.   CONCLUSIONS OF LAW

      A.    General Maritime Law

      1.    This Court has jurisdiction over this matter pursuant

to 28 U.S.C. § 1333, which provides original jurisdiction over

admiralty or maritime claims.      Venue is proper because the

defendants are subject to personal and in rem jurisdiction of

this Court.

      2.    The matters before the Court are: (a) the daily rate

of maintenance—at least $34 per day—to which Barnes is entitled;

(b) the amount of cure, if any, to which Barnes is entitled; (c)

whether Barnes has reached maximum medical cure; (d) whether

SHR’s denial of maintenance and cure was willful and wanton,

justifying an award of attorneys’ fees and punitive damages to

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Barnes; (e) the appropriate rate of pre-judgment interest, if

any, applicable to any judgment in favor of Barnes; and (f) any

award of post-judgment interest.

     3.   “Policy considerations have led to the adoption of a

somewhat paternalistic attitude toward seamen.”         Perry v. Morgan

Guaranty Trust Co., 528 F.2d 1378, 1379 (5th Cir. 1976); see

also Miles v. Apex Marine Corp., 498 U.S. 19, 36 (1990)

(“admiralty courts have always shown a special solicitude for

the welfare of seamen and their families”).

     4.   “Under principles of general maritime law, seamen are

entitled to maintenance and cure from their employer for

injuries incurred in the service of the ship[.]”          Aguilera v.

Alaska Juris F/V, O.N.569276, 535 F.3d 1007, 1009 (9th Cir.

2008) (alteration in original) (citation and internal quotation

marks omitted). “‘Maintenance . . . is designed to provide a

seaman with food and lodging when he becomes sick or injured in

the ship’s service; and it extends during the period when he is

incapacitated to do a seaman’s work and continues until he

reaches maximum medical recovery.’”      Id. (quoting Vaughan v.

Atkinson, 369 U.S. 527, 531 (1962)).

     B.   Maintenance

     5.   A seaman seeking maintenance “is entitled to the

reasonable cost of food and lodging, provided he has incurred



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the expense.” 7    Hall v. Noble Drilling (U.S.) Inc., 242 F.3d 582,

587 (5th Cir. 2001).      The Ninth Circuit determined that Barnes

is entitled to daily maintenance at the rate of $34.00, subject

to an upward increase at trial.        Barnes, 889 F.3d at 543.

       6.    In seeking to prove entitlement to a daily maintenance

rate higher than $34.00, Barnes must “present evidence to the

court that is sufficient to provide an evidentiary basis for the

court to estimate his actual costs.”            Hall, 242 F.3d at 590.

The Ninth Circuit in Barnes interpreted Hall as stating that the

seaman’s actual expenses are presumptively reasonable.                889 F.3d

at 540.     The seaman’s evidentiary burden “is ‘feather light,’

and a court may award reasonable expenses, even if the precise

amount of actual expenses is not conclusively proved.”                Id. at

588 (quoting Yelverton v. Mobile Labs., Inc., 782 F.2d 555, 558

(5th Cir. 1986).

       7.    Indeed, a plaintiff’s own testimony as to the cost of

room and board in the community where he is living is sufficient

to support an award.      Yelverton, 782 F.2d at 558; see also Morel

v. Sabine Towing & Transp. Co., Inc., 669 F.2d 345, 347-48 (5th


7
  The Hall court explained: “While ‘food’ is self-explanatory,
lodging requires definition. ‘Lodging’ includes expenses
‘necessary to the provision of habitable housing,’ such as heat,
electricity, home insurance, and real estate taxes. . . . Other
expenses, such as telephone service, clothing, toiletries, and
travel, are not part of maintenance.” 242 F.3d at 587 n.17.



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Cir. 1982) (noting that, while a plaintiff’s own testimony is

not “the most probative evidence one might conceive,” the

district court did not err in admitting and considering it,

given the Supreme Court’s emphasis that doctrines of maintenance

and cure are to be construed liberally and in favor of the

seaman).

       8.    Barnes’s current lodging expenses amount to around

$700.00 per month.       Barnes Tsti. Tr. 17:7-18:7.       This $700.00

amount comprises $500.00 per month for rent and approximately

$200 per month for utilities.        Id.   Accordingly, Barnes actual

lodging expenses are approximately $23 per day. 8

       9.    The Court notes that at the time of the July 3, 2012

accident, Barnes’s reasonable lodging expenses also amounted to

approximately $700.00 per month.          Barnes Tsti. Tr. 19:25-21:22.

At that time, Barnes was paying around $1400.00 total for a two-

bedroom, two-bathroom condominium—the $1400.00 amount comprised

$1200.00 per month in rent and approximately $200.00 per month

in utilities. 9    Id.   Dividing the cost for Barnes’s two-bedroom


8
  This amount of daily lodging expenses is calculated by
multiplying Barnes’s $700.00 per month in lodging expenses by 12
months and dividing the product by 365 days (($700 x 12)/365).
9
  The time during which Plaintiff Barnes lived with Mr. Hughes’
daughter, his mother, and others despite having no ability to
pay is properly included as part of Barnes maintenance award.
“[A] seaman living with his family is entitled to maintenance if
he shows that he paid his family for room and board or that he
had promised that he would and was obliged to do so.” Barnes v.
(Continued . . . .)
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and two-bath unit in half shows that Barnes’s reasonable lodging

expenses amounted to approximately $700.00 per month.

     10.   Barnes has also submitted evidence that his food costs

average as much as approximately $45.00 per day.            Ex. 16 at pp.

1, 14.

     11.   From Barnes’s evidence and testimony at trial,

therefore, the Court finds that Barnes has adequately

established that his actual expenses are $23.00 per day for

lodging and $45.00 per day for food.         Said differently, the

Court finds that Barnes has established actual expenses of

$68.00 per day.

     12.   When a “seaman makes out a prima facie case on the

maintenance rate question [by] prov[ing] the actual living

expenditures which he found it necessary to incur during his”

recovery, “the burden shift[s] to the defendant to demonstrate


(Continued . . . .)
Andover Co., 900 F.2d 630, 641 (3d Cir. 1990); McCormick
Shipping Corp. v. Duvalier, 311 F.2d 933, 934 (5th Cir. 1963)
(affirming maintenance award when “there was an expressed
intention of the appellee to make payment and an expectation of
her cousin to receive it”); see also Hall, 242 F.3d at 588
(“[W]hen the seaman has made ‘an expressed intention’ to pay . .
. even if the obligation is not legally enforceable, the seaman
may recover maintenance.” (quoting McCormick Shipping Corp., 311
F.2d at 934)); Posey v. Bouchard Transp. Co., No. CIV.A.04-1751,
2005 WL 2050279, at *2 (E.D. La. July 29, 2005) (same). Barnes
stated his intention to repay these individuals if he were ever
able to prevail in this action or otherwise become more
financially independent. Hughes Tsti. Tr. 85:23-86:15; Barnes
Tsti. Tr. 14:20-15:5, 29:6‒19.



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that [the seaman’]s actual expenditures were excessive, in light

of any realistic alternatives for room and board available to

him in [the locality].”           Incandela v. Am. Dredging Co., 659 F.2d

11, 14 (2d Cir. 1981); see also Barnes, 889 F.3d at 541-42

(quoting Incandela and, as a matter of first impression,

“expressly adopt[ing]” its burden-shifting framework).

        13.   Defendants have entirely failed to carry their burden

to demonstrate that Barnes’s actual expenses were excessive or

unreasonable.       Defendants put on a limited case at trial,

calling only Henry and Barnes to testify, introducing no

exhibits, but extensively cross-examining Barnes’s witnesses.

In addition, Mr. Henry testified that he believes: (a) lodging

in Kailua-Kona, Hawaii would cost Barnes up to $700 per month

(or $23.00 per day), Henry Tsti. Tr. 27:25-28:20; and (b) three

meals would cost up to $37.00 per day, Id. at 28:23-30:1. 10

Thus, according to Mr. Henry’s testimony, Barnes is entitled to

up to at least $60.00 per day.           Such testimony does not

establish that Barnes’ actual expenses were excessive.

        14.   Where a seaman provides evidence of actual expenses

and the defendant has not shown that the seaman’s actual


10
  The Court notes that Mr. Henry’s testimony regarding estimated
food costs is generally consistent with Mr. Hughes’s estimate
that an average breakfast and lunch in Kailua-Kona, Hawaii would
cost between approximately $10.00 and $12.00, while lunch would
cost around $12.00. Hughes Tsti. Tr. 82:3‒10.


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expenditures were excessive, “the court must determine the

maintenance award” by “compar[ing] the seaman’s actual expenses

to reasonable expenses,” and awarding the lower amount unless

“the plaintiff’s actual expenses were inadequate to provide him

with reasonable food and lodging.”       Hall, 242 F.3d at 590.        The

seaman “need not present evidence of the reasonable rate” of

maintenance in his district; rather, “a court may take judicial

notice of the prevailing rate in the district.”          Id.

     15.   The Court’s research indicates that the most recent

cases regarding the reasonable rate of daily maintenance for a

seaman in the state of Hawaii (let alone in the locality of

Kailua-Kona, Hawaii) appear to be more than ten-years old.

E.g., Nelson v. Research Corp. of Univ. of Haw., 805 F. Supp.

837, 853 (D. Haw. 1992) (holding that maintenance rate of $24

per day was reasonable).      In addition, a district court in the

District of Hawaii noted in 2008 that the American Maritime

Officers union’s 2004 collective bargaining agreement set a

maintenance rate of $12 per day.        See Best v. Pasha Haw. Transp.

Lines, L.L.C., No. 06-00634 DAE-KSC, 2008 WL 1968334, at *1 (D.

Haw. May 6, 2008).   Given the age and distinguishable facts of

these cases, the Court finds them unpersuasive in determining

the prevailing rate of daily maintenance in this district.

     16.   However, Dr. Jack Suyderhoud, Ph.D., plaintiff’s

expert witness in the field of economics, testified regarding

                                   25
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the reasonable rate of daily maintenance for a seaman living in

the locality of Kailua-Kona, Hawaii.           Dr. Suyderhoud also

provided a report concluding that a rate of “around $70” per day

“may be a reasonable estimate of the daily cost [of maintenance]

in Kailua-Kona.”   Ex. 48 at p. 8.       To make this determination,

Dr. Suyderhoud employed three alternative methods for estimating

the reasonable rate of daily maintenance in Kailua-Kona in 2015-

dollar values.   Ex. 48.      While the Court has concerns regarding

some of Dr. Suyderhoud’s methodology, the Court finds his

Exhibit 3 especially helpful.       See Ex. 48 at p. 10.

     17.   The Court finds that Dr. Suyderhoud’s Exhibit 3 is

very helpful in establishing the reasonable rate of daily

maintenance for the Kailua-Kona community.            Ex. 48 at p. 10.

Exhibit 3 includes a number of categories of expenses, some of

which are not appropriate considerations in a determination of

the reasonable daily rate of maintenance; however, Exhibit 3

does include expenses for food and housing, which amount to

$87.70 per day for the year 2015.        Accordingly, the Court finds

that the standard reasonable rate of daily maintenance in

Kailua-Kona is at least $87.70, even without adding inflation

costs from and after the year 2015.        The Court notes that under

Incandela, the burden of proof as to a community’s reasonable

rate of maintenance is shifted to Defendants, 659 F.2d at 14;

and the Court finds that Defendants have failed to establish

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such reasonable rate.

     18.   As stated above, where a seaman provides evidence of

actual expenses, “the court must determine the maintenance

award” by “compar[ing] the seaman’s actual expenses to

reasonable expenses,” and awarding the lower amount unless “the

plaintiff’s actual expenses were inadequate to provide him with

reasonable food and lodging.”      Hall, 242 F.3d at 590.

     19.   Barnes has presented evidence that his actual expenses

are $68.00 per day ($23.00 per day for lodging and $45.00 per

day for food).   The Court has considered expert witness evidence

that the reasonable rate of daily maintenance in Barnes’s

locality is over $87.70.      Comparing these two maintenance rates,

the Court finds that Barnes is entitled to maintenance at the

rate of $68.00 per day from the date of his injury to the

current date.

     20.   Further, the Court finds that maintenance at the rate

of $68.00 per day is adequate to provide Barnes with “reasonable

food and lodging.”   Id.

     21.   Accordingly, Barnes is entitled to maintenance at the

rate of $68.00 per day from the date of his injury, July 3,

2012, until he reaches maximum medical cure.

     C.    Cure and Maximum Medical Cure

     22.   Cure is generally understood to require the provision

of medical treatment and similarly extends until maximum medical

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recovery has been reached as a result of “continued and

necessary medical treatment.”     Luksich, 140 F.2d 812, 814 (9th

Cir. 1944).

     23.   Treatment need not be intended to return a seaman to

work in order to be considered “curative.”        A seaman suffering

from permanent and incurable conditions is entitled to

maintenance and cure until the point his “condition has

stabilized and further progress ended short of a full recovery.”

In re RJF Int’l Corp., 354 F.3d 104, 106 (1st Cir. 2004)

(holding that where a seaman suffered a serious brain injury

which reduced his mental capacity to that of an 18–24 month old,

treatment which had the potential to provide cognitive

improvement and help the seaman cope with muscle spasticity and

contraction was “curative”); Permanente S. S. Corp. v. Martinez,

369 F.2d 297, 298 (9th Cir. 1966) (stating that maximum cure is

reached when “the seaman is well or his condition is found to be

incurable”).

     24.   A seaman must establish the amount of cure to which he

is entitled.   E.g., Buenbrazo v. Ocean Ala., LLC, No. C06-1347C,

2007 WL 7724765, at *4 (W.D. Wash. Feb. 28, 2007) (stating that

a seaman has a “duty to show at trial . . . the amount of

maintenance and cure to which [he] is entitled”).

     25.   Here, Barnes has provided evidence that the State of

Hawaii—through its Department of Human Services Med-QUEST

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Division—holds a lien against Barnes in the amount of $21,697.76

as a result of necessary medical treatment provided to Barnes.

Ex. 41.    At trial, Barnes’s counsel stated that the full amount

of the State of Hawaii’s lien is the extent of what Barnes is

seeking for cure.    August 1, 2018 PM Tsti. Tr. 89:19-90:8.

     26.    Defendants introduced no evidence at trial to

undermine or rebut Barnes’s evidence as to this amount of

curable damages, and the Court thus finds that Barnes is

entitled to $21,697.76 in curable damages.

     27.    Moreover, Defendants “bear[] the burden of proving by

a preponderance of the evidence that [the seaman] has reached

maximum cure” in relation to his injuries.        Debbie Flo, Inc. v.

Shuman, 2014 AMC 840 (D.N.J. 2014) (“It is the vessel owner’s

burden to prove that MMI, or maximum cure, has been attained by

the injured seaman.”) (citing Smith v. Delaware Bay Launch

Serv., Inc., 972 F. Supp. 836, 848 (D. Del. 1997)); Haney v.

Miller’s Launch, Inc., 773 F. Supp. 2d 280, 290 (E.D.N.Y. 2010)

(stating that the employer has the burden of showing the seaman

has reached maximum cure); Hedges v. Foss Mar. Co., No. 3:10-CV-

05046 RBL, 2015 WL 3451347, at *5 (W.D. Wash. May 29, 2015)

(collecting cases); Zermeno v. N. Pac. Fishing, Inc., No. C16-

1540RSL, 2017 WL 4843484, at *2 (W.D. Wash. Oct. 26, 2017)

(“[I]t is the shipowner’s burden to prove by a preponderance of

the evidence that plaintiff reached maximum cure . . . .”).

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     28.    If any doubt exists as to whether a seaman is entitled

to coverage, whether particular medical treatment is necessary,

or whether maximum cure has been reached, courts generally

resolve disputes in favor of the seaman.        E.g., Moore v. The

Sally J., 27 F. Supp. 2d. 1255, 1262 (W.D. Wash. 1998) (citing

Vella v. Ford Motor Company, 421 U.S. 1 (1975)).

     29.    Defendants put on a limited case at trial, calling

only Henry and Barnes to testify, introducing no exhibits, but

extensively cross-examining Barnes’s witnesses. Accordingly,

Defendants wholly failed to carry their burden to establish that

Barnes has reached maximum medical cure.

     30.    The testimony of Barnes’s expert medical witness and

treating physicians support this conclusion.         Barnes’s general

neurology expert witness, Dr. Reumann, opined that Barnes has

not yet reached maximum medical cure.        Reumann Tsti. Tr. 74:5‒

18; 75:18‒25; Ex. 49 at p.p. 3-4.      Barnes’s treating physicians

also reported that Barnes continues to schedule appointments

with them and seeks treatment for his accident-related

conditions.    E.g., Hanes Tsti. Tr. 76:21-77:3; Miner Tsti. Tr.

70:15‒17.

     31.    Based on Barnes evidence, and considering the

extremely limited case that Defendants put on, the Court finds

that Barnes has not yet reached maximum medical cure.



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     D.    Attorneys’ Fees and Punitive Damages

     32.   Attorneys’ fees and punitive damages are available

under general maritime law for the willful and wanton disregard

of the maintenance and cure obligation.       See Atlantic Sounding

Co., Inc. v. Townsend, 557 U.S. 404, 424 (2009); Vaughan, 369

U.S. at 530; see also Castaneda v. Bradley, No. 16-CV-00746-JD,

2016 WL 6778650, at *3 (N.D. Cal. Nov. 16, 2016).

     33.   The Ninth Circuit has further explained that

attorneys’ fees incurred in order to secure a maintenance and

cure award may be recovered where the failure to provide

maintenance and cure is “arbitrary, recalcitrant or

unreasonable.”   Kopczynski v. The Jacqueline, 742 F.2d 555, 559

(9th Cir. 1984); see also Helffrich v. Atlantis Submarines,

Inc., 210 F.3d 383 (9th Cir. 2000) (“Attorney’s fees are

properly awarded only ‘where the shipowner has been willful and

persistent in its failure to investigate a seaman’s claim for

maintenance and cure or to pay maintenance.’” (citation

omitted)); Vaughan, 369 U.S. at 530-31 (allowing attorneys’ fees

against shipowner who willfully and persistently failed to

investigate a claim for maintenance and cure).

     34.   And courts have stated that “[a] shipowner becomes

liable for punitive damages when its refusal to pay maintenance

can be described as callous and recalcitrant, arbitrary and

capricious, or willful, callous, and persistent.”             Guevara v.

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Mar. Overseas Corp., 34 F.3d 1279, 1282 (5th Cir. 1994).

     35.   An employer, however, is “entitled to investigate a

claim for maintenance and cure before tendering any payments to

the seaman—without subjecting itself to liability for

compensatory or punitive damages.”     Boudreaux v. Transocean

Deepwater, Inc., 721 F.3d 723, 728 (5th Cir. 2013) (citing

Morales v. Garijak, Inc., 829 F.2d 1355, 1358 (5th Cir. 1987));

MNM Boats, Inc., v. Johnson, 248 F.3d 1139 (5th Cir. 2001);

McWilliams v. Texaco, Inc., 781 F.2d 514, 519-20 (5th Cir.

1986); Snyder v. L & M Botruc Rental, Inc., 924 F. Supp. 2d 728,

734 (E.D. La. 2013); Sullivan v. Tropical Tuna, Inc., 93 F.

Supp. 42, 45 (D. Mass. 1997).

     36.   Generally, moreover, “the willful, wanton and callous

conduct required to ground an award of punitive damages requires

an element of bad faith.”     Ward v. EHW Constructors, No. C15-

5338 BHS, 2016 WL 7407226, at *5 (W.D. Wash. Dec. 22, 2016)

(citing Harper v. Zapata Off-Shore Co., 741 F.2d 87, 90 (5th

Cir. 1984)).

     37.   “Examples of employer behavior that could merit

punitive damages have included (1) laxness in investigating a

claim; (2) termination of benefits in response to the seaman’s

retention of counsel or refusal of a settlement offer; [and] (3)

failure to reinstate benefits after diagnosis of an ailment

previously not determined medically.” Tullos v. Resource

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Drilling, Inc., 750 F.2d 380, 388 (5th Cir. 1985); Johnson v.

Am. Interstate Ins. Co., No. CIV.A. 6:08CV1988, 2010 WL 3802451,

at *1 (W.D. La. Sept. 20, 2010).

     38.   Defendants argued in 2013 that they attempted to

investigate Barnes’s maintenance and cure claims but were

thwarted by Barnes’s failure to cooperate fully with its

discovery requests.   Order Granting in Part and Denying in Part

Plaintiff’s Motion for Summary Judgment for Payment of

Maintenance and Cure at p. 17, ECF No. 44.        However, the Court

found in November 2013 that Barnes was entitled to an award of

maintenance and cure, even without establishing the amount of

such an award.   Id. at pp. 18, 21.     Defendants were thus on

notice at least five years ago of their obligation to pay Barnes

maintenance and cure.

     39.   In addition, the Ninth Circuit concluded earlier this

year that Barnes was entitled to maintenance in the amount of at

least $34 per day from the date of the July 3, 2012 accident,

subject to a potential upward increase at trial.          Barnes, 889

F.3d at 542, 543.   Shortly after the Ninth Circuit issued its

mandate in this matter, this Court entered an Order Regarding

Maintenance which stated:     “Pursuant to the Ninth Circuit’s writ

of mandamus, Plaintiff Barnes is entitled to an award of

maintenance at the rate of $34 per day, subject to a potential

upward modification after trial.”      ECF No. 313 at p. 1.

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Defendants have not paid Barnes any maintenance or cure since

the issuance of the Ninth Circuit’s decision or this Court’s

Order Regarding Maintenance.

     40.   Indeed, aside from two payments of $962.83 each on

March 7, 2014, and April 1, 2014, Ex. 32 at pp. 3-4; see also

Order Denying Plaintiff’s Third Motion for Summary Judgment for

Payment of Maintenance at p. 9 n.7, ECF No. 120, and a single

payment of $600 for rent, Barnes Tsti. Tr. 30: 3‒12; Henry Tsti.

Tr. 20:21-22:5, Defendants have never paid Barnes maintenance or

cure since the July 3, 2012 accident.        The Court finds that

these isolated payments indicate that Defendants were aware of

their obligation to pay maintenance and cure years ago, but have

failed to make any additional payments during the more than six

years following the July 3, 2012 accident.

     41.   The Court notes that there are considerations weighing

against awarding punitive damages and attorneys’ fees.            For

example, pursuant to the Court’s proposed stipulation,

Defendants notified the Court in November 2013 that they were

willing to stipulate to and pay $30 per day in maintenance to

Barnes without prejudice to either side’s right to seek a

further higher or lower final determination as to a reasonable

daily rate of maintenance; however, Barnes declined this win-win

Court-proposed stipulation.     See Order Denying Plaintiff’s Third

Motion for Summary Judgment for Payment of Maintenance at p. 3

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n.2, 12, ECF No. 120; Order Denying Plaintiff’s Motion for

Reconsideration at pp. 4-5, ECF No. 51.

     42.    However, as stated above Defendants made two payments

of $962.83 each for maintenance in 2014; yet notwithstanding

this acknowledged obligation, have failed to make any further

payments.    Accordingly, the Court finds that the amount of time

that has passed since Defendants unambiguously were obligated to

pay Barnes maintenance and cure—including after Barnes’s

rejection of the proposed stipulated amount of maintenance—

weighs in favor of awarding punitive damages and attorneys’

fees.

     43.    In addition, Henry filed for Chapter 13 bankruptcy

protection on November 3, 2014, and SHR filed for SHR filed for

Chapter 7 bankruptcy protection on November 12, 2014.           See In re

Kristin Kimo Henry, Case No. 14-01475, Dkt. 1; In re Sea Hawaii

Rafting, LLC, Case No. 14-01520, Dkt. 1.       Henry testified that

he relied on the advice of his former counsel in seeking

bankruptcy protection for himself and SHR, and was unsure of how

bankruptcy proceedings affected “the maintenance and cure

through th[e] whole bankruptcy process . . .”         Henry Tsti. Tr.

41:5‒22.    Nevertheless, Henry testified that he was aware that

SHR was obligated to pay “some maintenance,” but again was

“uncertain of that when bankruptcy came into play.”           Henry Tsti.

Tr. 27:17‒22.

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     44.    Accordingly, the Court finds that Barnes is the

prevailing party.    The Court further finds by the preponderance

of the evidence that Defendants acted willfully and wantonly, as

well as unreasonably and with callous disregard, and that there

was an element of bad faith in failing to pay Barnes maintenance

and cure.    See Vaughan, 369 U.S. at 530-31 (allowing award of

attorneys’ fees where a shipowner willfully and persistently

failed to investigate a claim for maintenance and cure);

Kopczynski, 742 F.2d at 559 (allowing award of attorneys’ fees

incurred in order to secure a maintenance and cure award where

the failure to provide maintenance and cure was “arbitrary,

recalcitrant or unreasonable”); Helffrich, 210 F.3d at 1

(“Attorney’s fees are properly awarded only ‘where the shipowner

has been willful and persistent in its failure to investigate a

seaman’s claim for maintenance and cure or to pay

maintenance’”); Selhorst v. Alward Fisheries, LLC, No. 3:12-CV-

00133-TMB, 2013 WL 12119575, at *4 (D. Alaska July 25, 2013)

(“To obtain punitive damages, a plaintiff must demonstrate that

‘there are facts sufficient to allow a reasonable trier of fact

to find, by a preponderance of the evidence, that [defendant]

acted with gross negligence, manifest recklessness, callous

disregard, or criminal indifference of the Plaintiff's safety or

well-being.’” (quoting Kahumoku v. Titan Maritime, LLC, 486 F.

Supp. 2d 1144, 1153 (D. Haw. 2007)); Atlantic Sounding, 557 U.S.

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at 424 (punitive damages have long been an accepted remedy under

general maritime law for the willful and wanton disregard of the

maintenance and cure obligation); Ward, 2016 WL 7407226 at *5

(“the willful, wanton and callous conduct required to ground an

award of punitive damages requires an element of bad faith”).

The Court thus concludes that Defendants are liable for punitive

damages and attorneys’ fees and costs.

     45.   As to Barnes’s reasonable attorneys’ fees and costs,

Barnes shall file a motion before the magistrate judge to

determine the appropriate quantum within fourteen days of the

entry of this Order.   Barnes is directed to file a bill of costs

and a motion for attorneys’ fees and related non-taxable

expenses in strict compliance with Local Rules 54.2 and 54.3.

LR 54.2(d) provides that any objections must be filed within

seven days after a bill of costs is served, and LR 54.3(f)

provides that any opposing response must be filed within

fourteen days after service of the statement of consultation

regarding the motion for attorneys’ fees. LR 54.3(f) allows a

reply to be filed thereafter within fourteen days.            The

magistrate judge will then determine the appropriate amount of

attorneys’ fees and costs to which Barnes is entitled, and

thereafter any party may file an appeal in accordance with the

aforesaid Local Rules.    A separate judgment for attorneys’ fees

and costs will be entered, which will include the application of

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the below-determined rate of pre-judgment interest.

     46.   As to the amount of punitive damages for which

Defendants are liable, the Court finds it appropriate to award

an amount “necessary to ensure the next worker who falls ill

aboard one of Defendant’s vessels receives the treatment he

deserves, as a seaman and as a human being.”        Jefferson v.

Baywater Drilling, LLC, No. CIV.A. 14-1711, 2015 WL 365526, at

*6 (E.D. La. Jan. 27, 2015).

     47.   Defendants must be made aware that injured seamen are

entitled to prompt payment of maintenance and cure.           E.g., The

Troop, 118 F. 769, 770-771, 773 (D. Wash. 1902) (concluding that

$4,000 was a reasonable punitive award because the captain’s

“failure to observe the dictates of humanity” and

obtain prompt medical care for an injured seaman constituted a

“monstrous wrong.”).

     48.   Based on the evidence and testimony presented at

trial, the length of time Barnes has not received any payments

of maintenance or cure, the complicated factual and procedural

history of this case, and Defendants’ pro se status for a

considerable portion of these proceedings, the Court finds it

appropriate to award Barnes $10,000.00 in punitive damages.

     E.    Pre-Judgment Interest

     49.   The next issue is whether pre-judgment interest should

be awarded and at what rate.     It is “well-established that

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compensatory damages in maritime cases normally include pre-

judgment interest.”   W. Pac. Fisheries, Inc. v. S.S. President

Grant, 730 F.2d 1280, 1288 (9th Cir. 1984).        The award of pre-

judgment interest is within the discretion of the district

court; however, the court must exercise this discretion with a

view to the fact that “pre-judgment interest is an element of

compensation, not a penalty.”     Id.

     50.   Denial of pre-judgment interest is appropriate only

where “peculiar circumstances justify its denial.”            Dillingham

Shipyard v. Associated Insulation Co., 649 F.2d 1322, 1328 (9th

Cir. 1981).   Such circumstances include unwarranted delay by

counsel, where parties assert claims or defenses in bad faith,

or where parties stipulate to exclusion of pre-judgment interest

as part of the damages award.     Hill v. Majestic Blue Fisheries,

LLC, Civ. No. 11-00034, 2015 WL 3961421, at *6 (D. Guam Jun. 30,

2015) (citing Alkmeon Naviera, S.A. v. M/V Marina L., 633 F.2d

789, 798 (9th Cir. 1980)).     The Court finds that no such

peculiar circumstances exist in this case to warrant a denial of

pre-judgment interest.

     51.   Federal law governs the rate of pre-judgment interest

awards in admiralty cases.     Columbia Brick Works, Inc. v. Royal

Ins. Co., 768 F.2d 1066, 1068 (9th Cir. 1985).         The applicable

rate of interest is prescribed by 28 U.S.C. § 1961(a), the

statutory rate for post-judgment interest in civil cases.             Id.

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at 1071.        Interest is to be “calculated from the date of the

entry of the judgment, at a rate equal to the average 1-year

constant maturity Treasury yield, as published by the Board of

Governors of the Federal Reserve System, for the calendar week

preceding the date of the judgment.”             28 U.S.C. § 1961(a).

Interest is to be compounded annually.             28 U.S.C. § 1961(b).

        52.     However, the district court is not bound by the

federal interest rate and has broad discretion to determine what

rate applies to an award of pre-judgment interest in admiralty

cases.        Columbia Brick Works, 768 F.2d at 1068.         If the district

court “finds, on substantial evidence, that the equities of a

particular case require a different rate,” the district court

may deviate from the federal statutory rate in order to fully

compensate the injured party.         W. Pac. Fisheries, 730 F.2d at

1289.      In exercising its discretion, the district court “may

choose the local rate of interest.”          Columbia Brick Works, 768

F.2d at 1071. 11


11
  See, e.g., Hill, 2015 WL 3961421, at *6-7, aff’d, 692 Fed.
Appx. 871 (9th Cir. 2017) (awarding pre-judgment interest at a
rate of 6% as permitted by Guam law where the court found the
federal statutory rate of 0.25% was too low); MacLay v. M/V
Sahara, Civ. No. C12-512 RSM, 2013 WL 2897960, at *2 (W. D.
Wash. Jun. 12, 2013) (awarding plaintiff its requested pre-
judgment interest rate of 8.00% because the federal statutory
rate of 0.12% was too low to compensate a decedent’s family from
the time of the loss to payment of judgment); Moore v. The Sally
J., 27 F. Supp. 2d 1255, 1262 (W. D. Wash. 1998) (awarding
plaintiff the Washington statutory rate of 12%); cf. Columbia
(Continued . . . .)
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     53.   The applicable rate of interest in Hawaii for awards

of post-judgment interest is 10.00% per annum.         Haw. Rev. Stat.

§ 478-3.   Pre-judgment interest is allowed in Hawaii at the rate

set by the post-judgment interest statute.        Lucas v. Liggett &

Myers Tobacco Co., 461 P.2d 140, 144 (Haw. 1969) (granting pre-

judgment interest at the 10.00% interest rate involving a

judgment on the value of cigarettes stolen by a sales

representative).   The Hawaii Supreme Court has held that an

award of pre-judgment interest at a rate of 10.00% per annum is

appropriate under Hawaii Revised Statutes Section 478-2 which

governs interest generally.     Eastman v. McGowan, 946 P.2d 1317,

1324-25 (Haw. 1997).

     54.   The Court finds there is substantial evidence that the

equities of this case demand deviation from the pre-judgment

interest rate set forth in 28 U.S.C. § 1961(a).         The weekly

average 1-year constant maturity Treasury yield according to the

Board of Governors of the Federal Reserve for the week preceding

the September 7, 2018 entry of judgment is 2.47%, 12 which the

Court finds significantly lower than the local Hawaii rate of


(Continued . . . .)
Brick Works, 768 F.2d at 1070-71 (awarding plaintiff the higher
federal rate of 12.801% where the local Oregon rate of 9.00%
would deny plaintiff full restitution).
12
   Board of Governors of the Federal Reserve System (US), 1-Year
Treasury Constant Maturity Rate, retrieved from Data Download
Program; https://www.federalreserve.gov/datadownload/ (October
4, 2018).


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10.00%.     Over six years have passed since the date of the

accident on July 3, 2012 and the entry of judgment on September

7, 2018, during which time Barnes received no maintenance

payments and was forced to live off the charity of family and

friends due to his injuries.     The Court finds that a pre-

judgment interest award at the federal rate of 2.47% is too

insignificant to fairly and adequately compensate Barnes for his

losses due to the substantial injuries and hardship that he

endured in the aftermath of and the years following the

accident.

     55.     Although the Court has awarded Barnes attorneys’ fees

and punitive damages, as set forth above, attorneys’ fees and

punitive damages awards serve different functions than awards of

pre-judgment interest and the rate at which pre-judgment

interest is set.     Under general maritime law, attorneys’ fees

awards are available “only when the failure to provide

maintenance and cure was arbitrary, recalcitrant or

unreasonable.”     Kopczynski, 742 F.2d at 559.     Punitive damages

awards are intended to punish the willful and wanton disregard

of the maintenance and cure obligation, Atlantic Sounding, 557

U.S. at 424; and one Ninth Circuit district court, relying on a

Fifth Circuit case, has further required an element of bad

faith.     Ward, 2016 WL 7407226, at *5.      Conversely, pre-

judgment interest is ordinarily granted as part of compensatory

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damages absent unusual circumstances.        W. Pac. Fisheries, 730

F.2d at 1288.    If applying the local rate of interest is

necessary in order to fully restitute and fairly compensate the

injured party, the district court may exercise its discretion

and deviate from the federal rate prescribed in 28 U.S.C. §

1961(a).   Columbia Brick Works, 768 F.2d at 1068.             In other

words, application of the local rate of interest is designed to

compensate the injured party throughout the period of the loss,

not to penalize the defendant’s unreasonable or willful

disregard of the maintenance and cure obligation.

     56.   Notwithstanding Barnes’s awards of attorneys’ fees and

punitive damages, the Court finds that the equities of this case

demand an award of pre-judgment interest at the local Hawaii

rate of 10.00% per annum in order to fully and fairly compensate

Barnes.    This award of pre-judgment interest is not by its

nature a penalty; rather, the pre-judgment interest award is

designed to compensate Barnes for the period of time from the

accident to the date of the entry of the judgment where he was

homeless, unable to make a living due to his injuries, and

received no payments of maintenance and cure.          Such an award of

pre-judgment is necessary to accomplish the just restitution of

Barnes.

     57.   The Court thus finds that pre-judgment interest at the

rate of 10.00% per annum is appropriate.        This rate of interest

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shall apply from July 3, 2012, the date of the accident, until

the September 6, 2018, the date on which the Court’s prior

Findings of Fact and Conclusions of Law were filed, or 2,257

days.

        F.    Post-Judgment Interest

        58.   Interest is allowed on any money judgment in a civil

case recovered in a district court.           28 U.S.C. § 1961(a).       The

interest rate for post-judgment interest is governed by 28

U.S.C. § 1961(a), and interest is to be compounded annually

pursuant to 28 U.S.C. § 1961(b).           Courts sitting in admiralty

routinely award post-judgment interest. 13         As requested in

Barnes’s Second Amended Complaint, the Court finds it

appropriate to compensate Barnes for any delay in payment of the

judgment by awarding post-judgment interest.            The Court awards

Barnes post-judgment interest at the rate of 2.47% compounded

annually pursuant to 28 U.S.C. § 1961 from the original date of

the entry of the judgment, September 7, 2018, until Defendants

pay the award.



13
  See, e.g., Hill, 2015 WL 3961421 at *1, 7 (D. Guam Jun. 30,
2015) (awarding pre-judgment interest at the local Guam rate of
6.00% and post-judgment interest at the rate set forth in 28
U.S.C. § 1961); MacLay, 2013 WL 2897960 at *2, 4 (awarding pre-
judgment interest at plaintiff’s requested rate of 8.00% per
annum, which was lower than the local Washington rate of 12%.00
per annum, and awarding post-judgment interest at the rate set
forth in 28 U.S.C. § 1961).


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III. SUMMARY

              On the basis of the foregoing Findings of Fact and

Conclusions of Law, the Court concludes that Plaintiff Chad

Barry Barnes is entitled to recover from Defendants (that is,

SHR and M/V Tehani and her appurtenances 14), jointly and

severally:

        1.    Maintenance in the amount of $68.00 per day.           Over six

              years—2,257 days—have passed since the July 3, 2012

              accident as of September 6, 2018.        Accordingly,

              Defendants SHR and the M/V Tehani are obligated to pay

              Barnes $140,950.34 15 for past maintenance, and $68.00

              per day until Barnes reaches maximum medical cure.

        2.    Cure in the amount of $21,697.76.

        3.    Punitive damages in the amount of $10,000.00.

14
   The Court notes that whether certain items constitute
appurtenances to the Tehani are disputed and particularly
whether the commercial use permit utilized in connection with
the vessel is an appurtenance has been the subject of litigation
and currently is on appeal before another district judge in this
district. See In re Kristin Kimo Henry Case No. 14-01475.
Accordingly, this Court has made no ruling as to what
constitutes appurtenances to the Tehani.
15
   The total amount of past maintenance due to Barnes is reduced
by $12,525.66, which is the sum of the: (1) $600.00 check SHR or
Henry paid to David Pane to cover Barnes’s rent, Barnes Tsti.
Tr. 30: 3‒12; Henry Tsti. Tr. 20:21-22:5; (b) two payments of
$962.83 each from SHR or Henry, Ex. 32 at pp. 3-4; see also
Order Denying Plaintiff’s Third Motion for Summary Judgment for
Payment of Maintenance at p. 9 n.7, ECF No. 120; and (c)
$10,000.00 rental proceeds Barnes received as maintenance, ECF
No. 373.



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     4.   Attorneys’ fees and costs in an amount to be

          determined after Barnes files an appropriate motion

          before the magistrate judge.       Barnes shall file a bill

          of costs and a motion for attorneys’ fees and related

          non-taxable expenses in strict compliance with Local

          Rules 54.2 and 54.3 no more than fourteen days

          following the entry of judgment.        Defendants may file

          objections in accordance with Local Rules 54.2 and

          54.3 to Barnes’ requests for attorneys’ fees and

          costs.   The magistrate judge will then determine the

          appropriate amount of attorneys’ fees and costs to

          which Barnes is entitled, and thereafter any party may

          file an appeal in accordance with the aforesaid Local

          Rules. A separate judgment for attorneys’ fees and

          costs will be entered with an identical pre-judgment

          interest rate applied.

          Before applying pre-judgment interest and without

including attorneys’ fees and costs, Barnes is entitled to a

total judgment in the amount of $172,648.10.        Pre-judgment

interest at the rate of 10.00% per year applies to this amount

from July 3, 2012, to September 6, 2018, for a total award of




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pre-judgment interest in the amount of $106,758.02. 16             Barnes is

also awarded post-judgment interest on the $172,648.10 principal

amount of his judgment herein at the post-judgment interest rate

of 2.47% compounded annually pursuant to 28 U.S.C. § 1961.

              Accordingly, pursuant to Federal Rule of Civil

Procedure 59(e), an amended judgment shall enter in favor of

Plaintiff Chad Barry Barnes and against Defendants in the amount

of $279,406.12.



              IT IS SO ORDERED.

              DATED:   Honolulu, Hawaii, October 5, 2018.




                                  ________________________________
                                  Alan C. Kay
                                  Sr. United States District Judge



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16
  Interest is calculated as follows: $172,648.10 (principal
judgment amount) times 0.10 (rate) divided by 365 (days per
year) times 2,257 (number of days between the date of the injury
(July 3, 2012) and the date the Court’s prior Findings of Fact
and Conclusions of Law were filed (September 6, 2018)) equals
$106,758.02.


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